Rev 6/17/10

To whom it may concern,

The following is a list of questions and answers that | have provided in response to a
letter from Dennis Warren & the Altamonte Heights Condo Association.

1, What is the exact nature of your impairment? PTSD due to military trauma & arthritis
due to 5 knee surgeries to treat two separate knee injuries while serving active duty in the
USAF from August 1991 to November 1998.

2. How does it substantially limit a major life activity? Please see the updated letter from
Dr. Li for information on how my PTSD affects major life activities. My animal also
provides mobility assistance to compensate for my arthritic knees by providing physical

bracing support when nsing to a standing position.

3. How long have you been receiving treatment for this specific impairment? For PTSD
since July of 1996 and for my knees since February of 1993.

4. How many sessions have you had with Dr. Li? Four sessions w/ Dr. Li & numerous
sessions w/ other VA & active duty military doctors

5, What specific training has your dog received? My animal has received basic and
advanced obedience training and is currently a service animal in training.

6. Why does it require a dog over 25 Ibs to afford you an equal opportunity to use and
enjoy your dwelling? In order to perform bracing and musculature support tasks, | require
an animal that is large and sturdy enough to support my body weight of 160 pounds.

Sincerely,
Ajit "Bogey" Bhogaita

FOOTPRINTS: "My precious child, | love you and will never leave you, never, ever, during
your triais and testings. When you saw only one set of foctprints, it was then that / carried

you."

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